Case 1:19-cv-01136-APM Document 39 Filed 05/28/19 Page 1 of 3

IN THE UNITED STATES MIDDLE DISTRICT COURT OF GEORGIA
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES SUPREME COURT OF AMERICA

Homer Douglas Cobb, IV, REC E IVE D

Plaintiff, | MAY 1.0 2019

V. CIVIL ACTION NO) 431 PG ¥RICT COURT

Consolidated with; OLUMBUS DIVISION
CASE NO: 19-CV- 01136

 

United States Government,
Donald J. Trump President,
Mike Pence Vice President,

CONSOLIDATED CLASS
ACTION

1

The State of Georgia, Lottery Corp.,
Brian Kemp Governor,

Gretchen Corbin C.E.O., tun Be

The State of Alabama, Date__
Kay Ivy Governor, wis
Defendant’s,

 

PLAINTIFF’S MOTION TO CONSOLIDATE
RELATED CASES FOR TRIAL

1, PLAINTIFF’S, individually respectfully move this Honorable Courts to
Consolidate related cases under Federal Rule of Civil Procedure ( Fed, R, Civ.P.)
42,Effective dispensation of justice in the instant case and below-listed related
case will best be served by granting the relief requested herein listed below:

2. The two Cases was file on the same Date, April 22, 2019 and both Plaintiff's
have issues with this unconstitutional Congress that is trying to impeach are slow
play from arresting the Traders until President Trump is killed anything to Stop
him from saving the Life & Liberty of Plaintiff Cobb from this uncostitutional
Congress.

(a) Fair and equal justice for over eight thousand Person in power for there
Crimes; the Uranium One Scandal, the Pelican Project Club-K System Scandal,
the give away of the Mother of the Internet over 80% of the 117%
unconstitutional Congress Members are guilty of insiders Trading, Selling off
National Military Technology to China and National Park Land here in
America,

   

  

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Certificate of Service
I, Homer Douglas Cobb, IV, hereby Certify that a True Copy of this Motion to
Consolidate Class Action Cases has been sent to the United States Solicitor General
Noel Francisco to his Office at, 950 Pennsylvania Ave. NW, Washington DC
20530-0001, and a copy to, William Barr Attorney General, at 950 Pennsylvania Ave.
NW, Washington DC 20530-1000, a Copy to President Trump, at 1600 Pennsylvania
Ave. NW, Washington DC 20500, a Copy to The Chief Justice John Roberts at 1 First
Street NE, Washington DC 20543, a copy to, the United States District Court For
The District of Columbia 333 Constitution Ave. NW, Washington DC 20001,
Angela D. Casear, Clerk of Court, a copy to, U.S. Navy/U.S. Marine Corps. Office of
the Chief Judge General Criminal Law Division 1254 Charles Morris Street SE, Suite
B01 Washington Navy Yard, DC 20374 and same Postage Pre-Paid by placing in the

United States Postal Service Mail first class on this 1$ day of May, 2019.

Ypus-- Doryhe Cll 2

Homer Douglas Cobb, IV ( Esquire )
370 Lee Rd. 220

Phenix City, Al. 36870

(334) 560-6595

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Notary omy ZEEE paseo a 5-L OO

BRIANNA CURRINGTON
Notary Public, State of Alabama
Alabama State At Large
My Commission Expires
August 24, 2022

 
Case 1:19-cv-01136-APM

DOWNTOWN COLUMBUS
120 12TH ST LBBY
COLUMBUS

GA
31901-9998
1219940501

04/22/2019 (800) 275-8777

  

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